Case 2:MorAE©U©MIBM~DD@wment>&&ool¥ile»@bm€a/QM&L Page 1 of 2 PagelD 108

 

t. ClRJDlST./ntv. cons
TNW

2. PERst)N REPRESENTED
Jones, Calvin

 

VOUCHER NUMBER

 

 

 

J. M AG. DK'|`.!DEF. NUMBER 4. DlST. DI(T,/DEF. NUMBER

2:4 -020068-001

s. APPEM.S DKTJDEF. NUMBER e. o'rrtt:tt DKT, Nur»tB¢§.ED B‘i',.1

  

 

v. m cAst-:/MATTER or s. PAYMENT cutteon
U.S. v. lanes Felony

(Cote Nsrne)

 

 

9. TYPE PERSON REPRESENTED
Adult Def`endant

10. REP RESENTAT|ON
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Crtmmal Case

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11. OFFENSE(S) CH ARGED (Clte U.S. Cnde, 'l`itle & Sectiond
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C»L.EFIK,

 

F{_ Di "i`[uii’.:
[U.S. DiST. CT.

 

12. A'I'I"ORNE,Y'S NAME
ANDMA[L|NG ADDRE

Erwin, lake E

200 jefferson Ave
Suite 1313

Memphis TN 38103

gF§l_',rsl Nlrue, M.l.. Lsst Nnme, including any su|'l'tx)

'| telephone Number:
ld, NAME AND MA|L|NC ADDRE‘SS OF LAW FlRM (un|y provide per lnstrurtinns)

 

 

   

L`ATF.COR[ES (Attacl\ itemization of services with dates)

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CLA[ME[)

13. coURTORt)ER W. U. U

0 Appointirtg Cuunse|
g l-` Suizs For Feders| Dei'ender
ij P Subs For ane| Atturu:y

Prior Atrnrney's Nafne:

EI C Co-Counsel
m R Subs For Retained Altnrne_v
[l Yr Stttndh)‘ Courlse|

 

Appo|ntment Dote:

 

[:] Becluse the ldove-I\ttmetl person represented has testified under oath or hits
otherwise satit|'ted th|s court that he or she ill is ftnsncinily unable lo erttp|t)_\,J ctiunsei end
[l) dues nut wish lo wlive countei. end because the int stt oljustir:¢ su require. the
attorney whu.e name appears in item ll is up ' ed to represent this person in this cuse,
or

 
   
   

Si\,'narur¢ ol' Pretii:liny, Judicittl OHicer or By Or~dr.-r olthe Coort
(l'l!|'iH/?[]D'i
Dnte oIOrder Nunr Pro `l`om: l)ale
Replyment er partial reply/ment ordered from the person represented l'or this service il
time nhppoinlment. m YES l:l NO

 

MAT|'L'TECH
ADJUSTED
AMOUNT

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RS ADDITION»'\L
REVII;IW

CLAIMED

 

a. Arraignment and/or Plea

 

b. Bail and Detentiun Heitrings

 

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c. Motion llearings

 

 

d. Trial

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et Semencing Hearings

 

l`. Revocat'ton Hearings

 

g. Appeals Cot.trf

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h. Other (Specit‘y on additional sheets)

 

(ltate per hour =S ) TOTALS:

 

 

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a. lntcrviews and Conferences

 

 

 

b. ()btaining and reviewing records

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c. I..cgal research and briefwriting

 

d. Trave| time

 

e. lnvestigative and Other work tsp¢ciry nn additional rheem

 

 

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(Rate per hour = S ) TOTAL,S:

(todging. parking, meals, mileage. etc.}

 

 

Travel Ex penses

 

 

Other Expenses {other than expert, transcripts, etc.)

  

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Other lhan from the cnurt. have you. or toyour knowledge hal anyone else`
representation? m \“ES El NC| ll'yes, give details on sdditionol sheels.
l swear ur affirm the truth or correctness of the above ttatements.

Sipnalure oll Attorney:
st

19. CERT!F|CATION OF ATTURNEY."PAYEE FOR THE PER|OD 0 F SERV|CE ZU. AFPO|NTMF.NT TER.M|NAT|ON DA'['E ll. CASE D[SP() 5['[`|().\
s lF OTHER THAN CASE COM PLET|ON
l‘ ROM TO
22. CLAIM STATUS [i Finttl l‘nyment E lnte.rim Plymettl Numbcr i:i Supp|emenlsl Fly¢nent 1
lln\'e you previously applied tn the court for compensation nod/tar remimbursement for this case? m YES i:i NO |l'yes. were you puid? :] YES [__] :'\‘0

received payment [compensatinn or anything or vllu¢) from any other source in connection with this

 

 

 
       

 

 

 

 

 

 

 

approved in excess ofthe statutoryl threshold amoun .

 

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Zli. SlGNA'l`URE OF THE PRES|D|NGJUI)|C|ALOFFICER DA'|`F. 281. JUD{;l-l.i|\lA[J.JL`DGECOUE
29. lN COURT COMP. 30. OUT OF COURT COMP. Jl. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT. APPRO\'ED
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l ISTRICT COURT - WESRTE DISTRICT TNNESSEE

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Honorablc J on McCalla
US DISTRICT COURT

